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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 16-Cr-20549-Scola(s)(s)(s)


    UNITED STATES OF AMERICA


    vs.


    PHILIP ESFORMES,

                           Defendant.


               UNITED STATES’ FIRST MOTION FOR PRELIMINARY ORDER
                     OF FORFEITURE OF SUBSTITUTE PROPERTY

          Pursuant to Fed. R. Crim. P. 32.2(e) and 21 U.S.C. § 853(p), the United States of America

   (“United States”), by and through its undersigned Assistant United States Attorney, hereby moves

   against Defendant, PHILIP ESFORMES (“Defendant”), for entry of its First Preliminary Order

   of Forfeiture of Substitute Property. The United States seeks criminal forfeiture of certain assets

   belonging to Defendant as substitute property in partial satisfaction of the forfeiture money

   judgment imposed against him as part of his sentence in this case. In support of this motion, the

   United States provides the attached Declaration of Special Agent Ricardo Carcas of the United

   States Health and Human Services, Office of Inspector General, and provides the following factual

   basis and legal authority in support of its motion:

                    FACTUAL BACKGROUND AND PROCEDURAL HISTORY

          1.      On July 19, 2018, a federal grand jury sitting in the Southern District of Florida

   returned a thirty-six (36) count third superseding true bill of indictment [ECF No. 869](hereinafter,

   the “Third Superseding Indictment”) charging Defendant, and others, with the following


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   violations: 18 U.S.C. § 1349 (Conspiracy to Commit Healthcare Fraud/Wire Fraud)(Count 1); 18

   U.S.C. § 1347 (Healthcare Fraud)(Counts 2-3); 18 U.S.C. § 1035(a)(2) (False Statements Relating

   to Healthcare Matters)(Counts 4-5); 18 U.S.C. § 371 (Conspiracy to Pay/Receive of Healthcare

   Kickbacks)(Count 6); 42 U.S.C. § 1320a-7b(b)(1)(A) (Receipt of Healthcare Kickbacks)(Counts

   7-9); 42 U.S.C. § 1320a-7b(b)(2)(A) (Payment of Healthcare Kickbacks)(Counts 10-15); 18

   U.S.C. § 1956(h) (Money Laundering Conspiracy)(Count 16); 18 U.S.C. § 1956(a)(1)(B)(i)

   (Money Laundering) (Counts 17-30); 18 U.S.C. § 371 (Conspiracy to Commit Federal Program

   Bribery)(Count 31); 18 U.S.C. § 371 (Conspiracy to Commit Federal Program Bribery and Honest

   Services Wire Fraud)(Count 32); 18 U.S.C. § 666 (Federal Program Bribery)(Count 33); 18 U.S.C.

   § 1503 (Obstruction of Justice)(Count 34); 18 U.S.C. § 371(Conspiracy to Make False Statement

   Relating to Healthcare Matters)(Count 35); and 18 U.S.C. § 1503 (Obstruction of Justice)(Count

   36). See Third Superseding Indictment, ECF No. 869.

          2.      The Third Superseding Indictment also contains a Forfeiture section alleging that

   specific assets are subject to criminal forfeiture upon Defendant’s conviction. See id., ECF No.

   869:41-48.

           3.     On April 5, 2019, the petit jury returned its Verdict [ECF No. 1245] finding

   Defendant guilty of the violations charged in Count 6 (18 U.S.C. § 371 - Conspiracy to

   Pay/Receive of Healthcare Kickbacks), Counts 8-9 (42 U.S.C. § 1320a-7b(b)(1)(A) - Receipt of

   Healthcare Kickbacks), Counts 10-13 (42 U.S.C. § 1320a-7b(b)(2)(A) -Payment of Healthcare

   Kickbacks), Count 16 (18 U.S.C. § 1956(h) - Money Laundering Conspiracy), Counts 18-21,

   Counts 25-28, and Count 30 (18 U.S.C. § 1956(a)(1)(B)(i) - Money Laundering), Count 31 (18

   U.S.C. § 371 - Conspiracy to Commit Federal Program Bribery), Count 32 (18 U.S.C. § 371 -

   Conspiracy to Commit Federal Program Bribery and Honest Services Wire Fraud), and Count 34


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   (18 U.S.C. § 1503 - Obstruction of Justice). See Verdict, ECF No. 1245.

          4.      On April 9, 2019, the Court conducted a bifurcated forfeiture evidentiary hearing

   pursuant to Fed. R. Crim. P. 32.2(b)(1)(A). At the conclusion of the hearing and following its

   deliberation, the petit jury returned its Forfeiture Verdict [ECF No. 1263] finding that the

   following assets constituted property involved in Defendant’s money laundering offenses, or were

   traceable to such property:

                  (a)     ADME Investment Partners LTD (Operating Company)(D/B/A Oceanside

   Extended Care Center)(“Oceanside”) was involved in the money laundering offenses charged in

   Counts 16, 19 or 30, or traceable to such property;

                  (b)     Almovea Associates, LLC (Operating Company) (D/B/A North Dade

   Nursing and Rehabilitation Center) (“North Dade”) was involved in the money laundering

   offenses charged in Counts 16 or 27, or traceable to such property;

                  (c)     Ayintove Associates, LLC (Operating Company) (D/B/A Harmony

   Health Center) (“Harmony”) was involved in the money laundering offenses charged in Counts

   16 or 20, or traceable to such property;

                  (d)     Eden Gardens, LLC (Operating Company) (D/B/A Eden Gardens) (“Eden

   Gardens”) was involved in the money laundering offenses charged in Counts 16 or 28, or traceable

   to such property;

                  (e)     Fair Havens Center, LLC (Operating Company) (D/B/A Fair Haven

   Center) (“Fair havens”) was involved in the money laundering offenses charged in Counts 16, 18

   or 30, or traceable to such property;

                  (f)     Flamingo Park Manor, LLC (Operating Company) (D/B/A Flamingo Park

   Manor) was involved in the money laundering offenses charged in Counts 16 or 28, or traceable


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   to such property; and

                  (g)      Sefardik Associates, LLC (Operating Company) (D/B/A The Nursing

   Center at Mercy)(“Nursing Center at Mercy”) was involved in the money laundering offenses

   charged in Counts 16 or 30, or traceable to such property.

   (collectively “Directly Forfeitable Assets”). See Forfeiture Verdict, ECF No. 1263.

          5.      The empaneled petit jury did not reach a special verdict regarding whether the

   United States established the requisite nexus between the other assets listed in the Forfeiture

   Verdict form and Defendant’s crimes. See id.; Fed. R. Crim. P. 32.2(b)(5).

          6.      On September 12, 2019, the Court imposed sentence on Defendant. See Judgment,

   ECF No. 1387. During the sentencing hearing, the United States made an ore tenus motion

   requesting that the Court order forfeited, subject to third party interests, all interest held by, on

   behalf of, or for the benefit of Defendant, in the Directly Forfeitable Assets consistent with the

   Forfeiture Verdict, which the Court granted. See Paperless Entry, ECF No. 1385. On November

   21, 2019, the Court entered its Order of Forfeiture of Directly Forfeitable Assets [ECF No. 1456]

   accordingly. See Preliminary Order, ECF No. 1456.

          7.      Additionally, on November 21, 2019, the Court entered its Order of Forfeiture [ECF

   No. 1455] imposing a forfeiture money judgment for $38,700,795 (US) (the “Forfeiture Money

   Judgment”) against Defendant as part of his sentence. See Order of Forfeiture, ECF No. 1455. The

   forfeiture money judgment is equal in value to the property traceable to the property involved in

   Defendant’s money laundering offenses. See id. at 2. The Order of Forfeiture directs that the United

   States may file a motion, pursuant to Fed. R. Crim. P. 32.2(e), to forfeit property belonging to

   Defendant having a value not to exceed the aggregate sum of the outstanding balance of the

   Forfeiture Money Judgment. See Order of Forfeiture, ECF No. 1455; Fed. R. Crim. P. 32.2(e) and


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   (e)(1)(B) (“On government’s motion, the court may at any time enter an order of forfeiture or

   amend an existing order of forfeiture to include property that . . . is substitute property that qualifies

   for forfeiture under an applicable statute.”).

           8.      The Government now seeks forfeiture of the following assets belonging to

   Defendant as substitute property, pursuant to 21 U.S.C. § 853(p), in partial satisfaction of the

   Forfeiture Money Judgment 1:

                   (a)     Bank Accounts (“BA”) (collectively, the “Bank Accounts”): All principal,

   deposits, interest, dividends, and/or any other funds credited to the following bank accounts:

                           (BA1) Account number 898049003513 held at Bank of America, N.A. in

   the name of Sherri Beth Esformes and Philip Esformes;

                           (BA2) Account number 003676209546 held at Bank of America, N.A. in

   the name of Philip Esformes and Julie Betancourt;

                           (BA3) Account number 102747 held at 1st Equity Bank, N.A. in the name

   of Sherri Esformes, Jason Tennenbaum, and Philip Esformes;

                           (BA4) {space left intentionally blank};

                           (BA5) Account number 204735 held at 1st Equity Bank, N.A. in the name

   of Philip Esformes Inc. (c/o Norman Knopf);

                           (BA6) {space left intentionally blank};

                           (BA7) Account number 209882 held at 1st Equity Bank, N.A. in the name

   of Philip Esformes Inc. (c/o Norman Knopf);




   1
    For purposes of consistency, the nomenclature and numbering of the assets matches the way they
   are listed in the Third Superseding Indictment. Certain numbered spaces are left intentionally blank
   where the Government it is not seeking forfeiture of the asset so listed in the Third Superseding
   Indictment.
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                         (BA8) Account number 312320 held at 1st Equity Bank, N.A. in the name

   of Philip Esformes Inc. Pension Plan & Trust;

                         (BA9) {space left intentionally blank};

                         (BA10) Account number 454362 held at 1st Equity Bank, N.A. in the name

   of Philip Esformes Inc. Pension Plan & Trust;

                         (BA11) {space left intentionally blank};

                         (BA12) {space left intentionally blank};

                         (BA13) {space left intentionally blank};

                         (BA14) Account number 1560024295 held at MB Financial Bank, N.A. in

   the name of Philip Esformes or Alvin Norman Knopf;

                         (BA15) {space left intentionally blank};

                         (BA16) Account number 1560025577 held at MB Financial Bank, N.A. in

   the name of Philip Esformes, Inc.;

                         (BA17) Account number 1560024473 held at MB Financial Bank in the

   name of Alvin Norman Knopf or Philip Esformes; and

                         (BA18) Account number 16021230 held at National Securities Bank, N.A.

   in the name of Philip Esformes Inc. Pension.

                 (b)     Real Property (“RP”) (collectively, the “Real Property”): Real property,

   together with all appurtenances, improvements, fixtures, easements and attachments, therein

   and/or thereon, which are known and numbered as follows, or the remaining share of the net seller

   proceeds from any interlocutory sale of such assets ordered by the Court:

                         (RP1) 5077 N. Bay Road, Miami Beach, Florida 33140;

                         (RP2) 5069 N. Bay Road, Miami Beach, Florida 33140;


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                          (RP3) 980 W. 48th Street, Miami Beach, Florida 33140;

                          (RP4) 180 E. Pearson, Unit 7201, Chicago, Illinois 60611;

                          (RP5) 6849-50 S. Clyde Avenue, Chicago, Illinois 60649; and

                          (RP6) 9427 Sawyer Street, Los Angeles, California 90035.

   (collectively “Substitute Assets”). 2

                          INCORPORATED MEMORANDUM OF LAW

          Forfeiture of substitute property is an appropriate and authorized method of satisfying an

   unpaid forfeiture money judgment. Specifically, Fed. R. Crim. P. 32.2(e) permits a court to order

   forfeiture of “substitute property that qualifies for forfeiture under an applicable statute.” In this

   case, the Substitute Assets qualify for forfeiture under 21 U.S.C. § 853(p), which provides:

                  (1) In general

                          Paragraph (2) of this subsection shall apply, if any property
                          described in subsection (a), as a result of any act or omission
                          of the defendant–

                                   (A)     cannot be located upon the exercise of due
                                           diligence;
                                   (B)     has been transferred or sold to, or deposited
                                           with, a third party;
                                   (C)     has been placed beyond the jurisdiction of the
                                           court;
                                   (D)     has been substantially diminished in value; or
                                   (E)     has been commingled with other property
                                           which cannot be divided without difficulty.

                  (2) Substitute property

                          In any case described in any of subparagraphs (A) through
                          (E) of paragraph (1), the court shall order the forfeiture of
                          any other property of the defendant, up to the value of any

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    The Substitute Assets are among other assets that the petit jury did not reach a special verdict
   answering whether the United States established the requisite nexus between the assets and
   Defendant’s crimes. See Forfeiture Verdict, ECF No. 1263; Fed. R. Crim. P. 32.2(b)(5).

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                           property described in subparagraphs (A) through (E) of
                           paragraph (1), as applicable.

   21 U.S.C. § 853(p)(1)-(2). Thus, subdivision (p) authorizes a court to order forfeiture of any other

   property belonging to a defendant in lieu of the unavailable assets, up to the value of the

   unavailable assets.

           Furthermore, forfeiture of substitute property is an appropriate method for satisfying a

   forfeiture money judgment. According to federal law, the Court may order the forfeiture of

   substitute property to satisfy a forfeiture money judgment where the judgment represents the value

   of a defendant’s ill-gotten gains that are unavailable for forfeiture for one of the reasons set forth

   in § 853(p). See United States v. Duboc, 694 F.3d 1223 (11th Cir. 2012) (affirming forfeiture of

   substitute property in partial satisfaction of money judgment). See also United States v. Hatcher,

   323 F.3d 666, 673 (8th Cir. 2003) (“Section 853(p) provides that where the government proves

   that it was entitled to forfeiture, but the specific property is no longer available, the district court

   shall order the forfeiture of substitute assets.”); United States v. Baker, 227 F.3d 955, 970 (7th Cir.

   2000), cert. denied, 531 U.S. 1151 (2001) (noting that “the government can satisfy part of the

   forfeiture award with assets ‘traceable to’ proceeds of [the defendant’s] conspiracy, or with

   substitute assets.” (citations omitted)); United States v. Candelaria-Silva, 166 F.3d 19, 42 (1st Cir.

   1999), cert. denied, 529 U.S. 1055 (2000) (affirming the district court’s order of the forfeiture of

   real property as substitute assets in partial satisfaction of a $6 million forfeiture money judgment).

           Importantly, a court may also order forfeiture of an asset as substitute property which the

   court or jury previously declined to forfeit directly. See United States v. Weiss, 2005 WL 1126663,

   *6-8 (M.D. Fla. 2005) (any asset of the defendant may be forfeited as a substitute asset to satisfy

   a money judgment), aff’d, 467 F.3d 1300 (11th Cir. 2006); United States v. Weiss, 2005 WL

   1126663, *6-7 (M.D. Fla. 2005) (if jury fails to include an asset in the list of things directly

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   traceable to the offense, the Government may seek forfeiture of the same asset as a substitute

   asset), aff’d, 467 F.3d 1300 (11th Cir. 2006); United States v. Tardon, 56 F. Supp.3d 1309 (S.D.

   Fla. 2014) (property jury declined to forfeit is forfeitable as substitute assets).

           After reviewing the financial investigation of Defendant and his assets conducted in this

   case, Special Agent Carcas concluded that the property involved in Defendant’s money laundering

   crimes, and/or the property traceable to such property, other than the seven (7) operating

   companies referenced above, cannot be located upon the exercise of due diligence; have been

   transferred or sold to, or deposited with, a third party; have been placed beyond the jurisdiction of

   the court; or have been substantially diminished in value or have been commingled with other

   property which cannot be divided without difficulty See Carcas Decl. at ¶ 7, attached hereto as

   Exhibit A.

                                PROTECTION OF THIRD PARTY RIGHTS

           Once a court enters an order forfeiting substitute property, third parties have a right to

   contest in the ancillary proceeding the forfeiture by asserting a superior ownership interest

   pursuant to 21 U.S.C. § 853(n). See Fed. R. Crim. P. 32.2(e)(2); United States v. Watkins, 320 F.3d

   1279 (11th Cir. 2003) (third parties can challenge forfeiture of cash as substitute asset). Thus,

   after entry of its proposed First Preliminary Order of Forfeiture of Substitute Property, the United

   States will initiate proceedings necessary to protect any third party interests in the forfeited

   substitute property in accordance with Fed. R. Crim. P. 32.2(e) and 21 U.S.C. § 853(n).

           WHEREFORE, pursuant to Fed. R. Crim. P. 32.2(e) and 21 U.S.C. § 853(p), and for the

   reasons set forth herein, the United States respectfully submits that its motion should be granted

   and that its proposed First Preliminary Order of Forfeiture of Substitute Property should be entered

   accordingly.


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                                       Respectfully submitted,

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